              Case 1:99-vv-00542-UNJ Document 89 Filed 08/08/14 Page 1 of 2




                   In the United States Court of Federal Claims
                                      OFFICE OF SPECIAL MASTERS
                                               No. 99-542V
                                           (Not to be published)


*************************
                                   *
ADAEL SHINN, mother and            *
natural guardian of P.S., a minor, *
                                   *
                       Petitioner, *
                                   *                                      Filed: July 17, 2014
               v.                  *
                                   *                                      Decision on Attorney’s
SECRETARY OF HEALTH AND            *                                      Fees and Costs
HUMAN SERVICES                     *
                                   *
                       Respondent. *
                                   *
*************************



                              DECISION1 (ATTORNEY FEES AND COSTS)
        In this case under the National Vaccine Injury Compensation Program,2 I issued a
decision on November 26, 2013. On July 16, 2014, the parties filed a joint stipulation of facts
concerning attorneys’ fees and costs in this matter. The parties’ stipulation requests a total
payment of $16,500.00, representing attorney’s fees and costs for work performed by the law
firm of Clifford J. Shoemaker.
         I find that this petition was brought in good faith and that there existed a reasonable basis
for the claim. Therefore, an award for fees and costs is appropriate, pursuant to 42 U.S.C. §
300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and appropriate.
Accordingly, I hereby award the total $16,500.00 as a lump sum in the form of a check
payable jointly to petitioner and petitioner’s counsel, Clifford J. Shoemaker.

1
  The undersigned intends to post this decision on the United States Court of Federal Claims’ website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days within which to request
redaction “of any information furnished by that party (1) that is trade secret or commercial or financial information
and is privileged or confidential, or (2) that are medical files and similar files the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, “the entire” decision will be
available to the public. Id.
2
    The applicable statutory provisions defining the program are found at 42 U.S.C. § 300aa-10 et seq. (2006).
           Case 1:99-vv-00542-UNJ Document 89 Filed 08/08/14 Page 2 of 2



       In the absence of a timely-filed motion for review filed pursuant to Appendix B of the
Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment in
accordance herewith.3

IT IS SO ORDERED
                                                                            /s/ George L. Hastings, Jr.
                                                                                George L. Hastings, Jr.
                                                                                Special Master




3
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice renouncing the
right to seek review.
